
This is an appeal from an interlocutory order awarding temporary total disability benefits in a worker's compensation case.
Rule 5(a), Ala.R.App.P., provides that "[a]ppeals of interlocutory orders are limited to those civil cases which are within the original appellate jurisdiction of the Supreme Court." This court is without jurisdiction of an appeal from an interlocutory order. Rule 5(a); State Dept. of IndustrialRelations v. Barber, 639 So.2d 1375 (Ala.Civ.App. 1994). Consequently, this appeal is due to be dismissed.
APPEAL DISMISSED.
THIGPEN, YATES, CRAWLEY and MONROE, JJ,, concur.